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 3
                                  UNITED STATES DISTRICT COURT
 4
                                         DISTRICT OF NEVADA
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     UNITED STATES OF AMERICA,                 )
 7                                             )
                       Plaintiff,              )                  Case No. 2:11-cr-00334-MMD-GWF
 8                                             )
     vs.                                       )                  ORDER
 9                                             )
     TRACEY BROWN,                             )
10                                             )
                       Defendant.              )
11   __________________________________________)
12           This matter is before the Court on Defendant’s Motion to Unseal Grand Jury Transcripts
13   (#210), filed on October 14, 2015. The Government’s Response (#217) was filed on October 28,
14   2015.
15           Defendant moves to unseal the grand jury transcripts under Fed. R. Crim. P. 6(e)(3)(E),
16   which provides that a Court may disclose grand jury transcripts “at the request of a defendant who
17   shows that a ground may exist to dismiss the indictment because of a matter that occurred before
18   the grand jury.” Defendant has already been convicted, and acknowledges that he can no longer
19   dismiss the indictment. Instead, he moves to unseal the transcripts to determine if the grand jury
20   was provided with erroneous information. The Government argues that this is unsubstantiated and
21   speculative. The Government argues that Defendant’s speculative assertions do not meet the
22   “particularized need” standard, and therefore do not constitute a reason for unsealing the
23   transcripts. See United States v. Walczak, 783 F.2d 852, 857 (9th Cir. 1986). Defendant does not
24   offer any particularized need for the evidence to be unsealed beyond a fishing expedition for
25   potential inconsistencies. This does not meet the standard established in Walczak. Accordingly,
26   ...
27   ...
28   ...
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 1          IT IS HEREBY ORDERED that Defendant’s Motion to Unseal Grand Jury Transcripts
 2   (#210) is denied.
 3          DATED this 13th day of November, 2015.
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 6                                           GEORGE FOLEY, JR.
                                             United States Magistrate Judge
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